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       MICHAEL ROSZA, an individual
 8
 9
10                          UNITED STATES DISTRICT COURT

11                         CENTRAL DISTRICT OF CALIFORNIA

12
13    CONOR WOULFE, an individual, and            CASE NO.: 2:22-cv-459
      PETER MICHAEL ROSZA, an
14    individual,                                 CLASS ACTION COMPLAINT
15
16                  Plaintiff,
                                                  DEMAND FOR JURY TRIAL
17         v.

18    UNIVERSAL CITY STUDIOS LLC,
      d.b.a., UNIVERSAL PICTURES, a
19    California limited liability company; and
20    DOES 1-20, inclusive,

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                   Defendant,
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 1         Plaintiffs Conor Woulfe and Peter Michael Rosza (“Plaintiffs”) bring this class

 2 action complaint against Defendant Universal City Studios LLC, doing-business-as
 3 Universal Pictures (“Defendant”), individually and on behalf of all others similarly
 4 situated, and allege upon personal knowledge as to Plaintiffs’ acts and experiences, and, as
 5 to all other matters, upon information and belief, including investigation conducted by
 6 Plaintiffs’ attorneys.
 7
 8                                NATURE OF THE ACTION

 9         1.    This is a consumer protection class action arising out of Defendant’s false,
10 deceptive, and misleading advertising of the 2019 movie Yesterday.
11       2.     Defendant is an American film production and distribution company that
12 advertises, sells, broadcasts, licenses, and distributes feature films, including a movie
13 released in the year 2019 entitled Yesterday.
14        3.     Among other deceptions, Defendant’s nationwide advertising and promotion
15 of the movie Yesterday represents to prospective movie viewers that the world famous
16 actress Ana De Armas has a substantial character role in the film.
17         4.    Defendant’s movie Yesterday, however, fails to include any appearance of
18 Ana De Armas whatsoever. Accordingly, Defendant’s advertising and promotion of the
19 movie Yesterday is false, misleading, and deceptive.
20         5.    Plaintiffs bring this action individually and on behalf of all other similarly
21 situated consumers to halt the dissemination of Defendant’s false, deceptive, and
22 misleading representations, to correct the false, deceptive, and misleading perception
23 Defendant’s representations have created in the minds of consumers, and to obtain redress
24 for those who have purchased, rented, licensed, or otherwise paid for attending showings
25 of the movie Yesterday.
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27                                      CLASS ACTION COMPLAINT
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 1                                           PARTIES

 2         6.    Plaintiff Peter Michael Rosza (“Plaintiff Rosza”) is a forty-four year-old
 3 citizen of the State of California, and, at all times relevant to this action, resided in San
 4 Diego County, California.
 5         7.    On or about October 31, 2021, Plaintiff Rosza watched Defendant’s
 6 advertisement of the movie Yesterday, in the form of a movie trailer accessed and viewed
 7 using Amazon.com’s internet movie streaming service. The movie trailer which Plaintiff
 8 Rosza viewed was false, misleading, and deceptive. Among other false representations, the
 9 trailer promoted Ana De Armas as an actress that would appear in the film. Plaintiff Rosza
10 viewed the movie trailer at his home in San Diego County, California. Persuaded by the
11 movie trailer to view the film Yesterday because of its false representations, Plaintiff Rosza
12 rented the movie. Upon watching the rented movie, Plaintiff Rosza discovered that, among
13 other deceptions, Ana De Armas does not appear in the film.
14         8.    Relying on the Defendant’s false, deceptive, and misleading representations,
15 Plaintiff Rosza purchased rights to view the movie Yesterday for approximately $3.99. By
16 paying to view the falsely advertised movie, Plaintiff suffered injury-in-fact and lost
17 money.
18      9.       Plaintiff Conor Woulfe (“Plaintiff Woulfe”) is a thirty-eight year-old citizen
19 of the State of Maryland, and, at all times relevant to this action, resided in Howard County,
20 Maryland.
21         10.   On or about July 12, 2021, Plaintiff Woulfe watched Defendant’s
22 advertisement of the movie Yesterday, in the form of a movie trailer accessed and viewed
23 using Amazon.com’s internet movie streaming service. The movie trailer which Plaintiff
24 Woulfe viewed was false, misleading, and deceptive. Among other false representations,
25 the trailer promoted Ana De Armas as an actress that would appear in the film. Plaintiff
26
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27                                       CLASS ACTION COMPLAINT
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 1 Woulfe viewed the movie trailer at his home in Howard County, Maryland. Persuaded by
 2 the movie trailer to view the film Yesterday because of its false representations, Plaintiff
 3 Woulfe rented the movie. Upon watching the rented movie, Plaintiff Woulfe discovered
 4 that, among other deceptions, Ana De Armas does not appear in the film.
 5          11.    Relying on the Defendant’s false, deceptive, and misleading representations,

 6 Plaintiff Woulfe purchased rights to view the movie Yesterday for approximately $3.99.
 7 By paying to view the falsely advertised movie, Plaintiff suffered injury-in-fact and lost
 8 money.
 9      12.        But for Defendant’s false and/or misleading representations and deceptions

10 promoting the movie, Plaintiffs would not have paid to view the movie Yesterday.
11      13. Defendant is a limited liability company with a principal place of business at

12 100 Universal City Plaza, Universal City, California 91608.
13      14. Defendant developed and produced the movie Yesterday in California and

14 marketed, advertised, screened, promoted, distributed, licensed, rented, and sold the movie
15 to hundreds of thousands, if not millions, of consumers in California and Maryland.
16 Likewise, and more specifically, Defendant’s false, deceptive, and misleading
17 advertisements were shown and distributed in California and Maryland.
18
19                                JURISDICTION AND VENUE
20
            15.    The Court has original jurisdiction under 28 U.S.C. § 1332(d)(2) (“Class
21
      Action Fairness Act” or “CAFA”) because the matter in controversy, exclusive of interest
22
      and costs, exceeds the sum or value of $5,000,000 and is a class action in which there are
23
      in excess of 100 class members, and some of the members of the class are citizens of states
24
      different from Defendant, thus satisfying the minimal diversity requirement.
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27                                       CLASS ACTION COMPLAINT
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 1         16.   This Court has personal jurisdiction over Defendant because Defendant

 2 conducts business in California. Defendant developed, produced, marketed, advertised,
 3 screened, promoted, distributed, licensed, rented, and sold the movie Yesterday in and from
 4 California, rendering exercise of jurisdiction by California courts permissible.
 5       17. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and (b)

 6 because a substantial part of the events and omissions giving rise to Plaintiffs’ claims
 7 occurred in this district. Venue also is proper under 18 U.S.C. § 1965(a) because
 8 Defendant transacts substantial business in this district.
 9
10                                FACTUAL ALLEGATIONS
11
      The Actress Ana De Armas
12
13         18.   Ana De Armas (hereinafter Ms. De Armas) is a talented, successful, and

14 famous actress, that has starred in such movies as Blade Runner 2049, War Dogs, and
15 Knives Out.
16         19.   Demonstrating her demand in the film industry, Ms. De Armas was chosen to

17 be a female lead in the movie No Time to Die, co-starring Daniel Craig. No Time to Die
18 debuted on or about October 8, 2021 and is the latest film in the James Bond franchise. No
19 Time to Die is an important movie for its studio because it is the last James Bond film
20 expected to feature Actor Daniel Craig.
21         20.   Ms. De Armas was also recently selected to star in the upcoming film Blonde,

22 playing the role of deceased movie star Marilyn Monroe. She is also set to star in Deep
23 Water, co-starring her former boyfriend Ben Affleck (hereinafter Mr. Affleck).
24         21.   Ms. De Armas’ 2015 movie Knock Knock, co-starring Keanu Reeves, was

25 identified by Netflix as one of its most popular movies. Indeed, Knock Knock achieved the
26 status of the “most-watched” movie on Netflix’s streaming service during 2020.
                                                  4
27                                      CLASS ACTION COMPLAINT
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 1         22.   Ms. De Armas currently has approximately 5.3 million followers on

 2 Instagram.
 3       23. In 2020, Ms. De Armas was the Golden Globe Nominee for Best Actress in a

 4 Comedy or Musical for her performance in the movie Knives Out.
 5     24. Ms. De Armas is famous throughout America and the world because of her

 6 successful movie and other media appearances.
 7 Yesterday and its Trailer
 8
          25. The movie Yesterday started filming in April 2018 and was released on May
 9
   4, 2019. Yesterday is a film about a failed musician Jack Malik, who hits his head during a
10
   black-out only to wake-up to discover that that the world’s knowledge of The Beatles has
11
   been erased. Taking advantage of this opportunity, the protagonist Malik adopts The
12
   Beatles’ songs as his own, quickly becoming world famous.
13
          26. Ms. De Armas was originally cast to co-star in the film Yesterday as a
14
   character named Roxanne. Accordingly, scenes featuring Ms. De Armas as the character
15
   Roxanne were shot for inclusion in the original version of the movie. In the original version
16
   of the movie, the character, Roxanne, was written as a known actress that meets the
17
   protagonist Malik during a late night talk show appearance. During the talk show
18
   appearance, the host first suggests that Malik write a song about Roxanne. Immediately
19
   revising his song writing request, the talk show host subsequently tells Malik to write a
20
   song about “something.” Malik – in reply – plays the The Beatles’ song Something seated
21
   next to and gazing at Roxanne. As the scene appears in the movie trailer for Yesterday, a
22
   romantic attraction is immediately sparked between the two characters. Roxanne, in the
23
   scene, appears charmed by Malik’s perceived song writing talent and they ultimately
24
   embrace. The film’s female lead Ellie, played by the relative unknown actress Lily James,
25
   witnesses the meeting on television from home. In the scene as it appears in the Yesterday
26
                                                  5
27                                      CLASS ACTION COMPLAINT
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 1 movie trailer, Ellie is visibly upset that she might lose Malik to Roxanne. Dialogue in the
 2 trailer also suggests that Ellie is concerned that Malik is distracted by his newfound fame
 3 and glamor of actress Roxanne. Ellie, herself, does not portray a famous or glamorous
 4 character in the film, but is simply Malik’s longtime, hometown friend.
 5          27.   According to the director Danny Boyle, Ms. De Armas’ portrayal of Roxanne

 6 in the original film cut was “brilliant” and Ms. De Armas was “radiant” in the role. More
 7 specifically, according to the film’s director:
 8                “When you watched [the scene with Ms. De Armas] alone, it was
                  fantastic[.]”
 9
10                “[S]he was brilliant in it. I mean really radiant.”

11                “[I]t’s some of our favorite scenes from the film[.]” (sic)
12          28.   Director Boyle expressed similar flattering views pertaining to character Jack
13 Malik’s response to the request to play “something” in the same scene featuring Ms. De
14 Armas. According to Boyle:
15                “Actually, we cut one of my favorite jokes from the film, which
16                my son thought of. Because James Corden used to say, ‘Why
17                don’t you write something right now? I hear you can write things
18                really quickly, write something right now.’ And so he wrote
19                ‘Something.’ [Jack] actually sang the song ‘Something,’ and I
20                was so delighted by that joke.”
21
            29.   The principal actors in the movie Yesterday were largely unknown before the
22
      film was released. For example, the actor which played protagonist Malik, Himesh Patel,
23
      had never acted or starred in a film prior to Yesterday. Similarly, the actress who played
24
      Ellie, Lily James, was a relatively unknown name to the casual movie watcher.
25
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                                                    6
27                                        CLASS ACTION COMPLAINT
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 1         30.   Consequently, because none of the Yesterday film leads were famous,

 2 Defendant could not rely on their fame to promote the movie to entice viewership.
 3      31. In contrast to the film’s lead actors, Ms. De Armas is and was a known movie

 4 star. Moreover, according to the director of the film, she was “radiant” and “brilliant” in
 5 the movie scenes originally shot for the film.
 6         32.   Unable to rely on fame of the actors playing Jack Malik or Ellie to maximize

 7 ticket and movie sales and rentals, Defendant consequently used Ms. De Armas’s fame,
 8 radiance and brilliance to promote the film by including her scenes in the movie trailers
 9 advertising Yesterday. Ms. De Armas, in contrast to the actors playing Jack Malik or Ellie,
10 is famous and is a viewership draw by herself. Moreover, the Ms. De Armas scene which
11 Defendant included in the trailer was described by director Boyle as fantastic. Accordingly,
12 the inclusion of such a fantastic scene would be expected to entice viewership and thereby
13 boost movie sales and rentals.
14       33. Although Defendant included the scenes with Ms. De Armas in the movie

15 trailer advertisements, for the purposes of promoting Yesterday and enticing film sales and
16 rentals, Ms. De Armas is not and was never in the publicly released version of the movie.
17 Therefore, any consumer that purchased theater tickets or rented or purchased the film
18 Yesterday online did not see Ms. De Armas in the film.
19         34.   Adding to its deceptiveness, the trailer for Yesterday also included the

20 “something”-song-joke, which director Boyle described as one of his “favorites” and which
21 he explained “delighted” him. In that scene, the character Malik plays The Beatles’ song
22 “Something” as a punchline to the comedic set-up of the scene. Notably the song
23 “Something” is also demonstrably famous. From the Beatles’ 1969 album Abbey Road,
24 “Something” was written by George Harrison and topped the Billboard Hot 100 in the
25 United States, as well as charts in Australia, Canada, New Zealand and West Germany.
26 Still popular today, one upload of the song alone has achieved over 72 million views on
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27                                      CLASS ACTION COMPLAINT
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 1 YouTube. Although in the movie trailer which advertises and promotes Yesterday, the
 2 scene with the “something”-song-joke, in which Malik plays The Beatles’ song
 3 “Something”, is not in the publicly released version of the film.
 4      35. Defendants’ false representations that an actress, song, and other scene

 5 elements would appear in the film Yesterday, when they did not, collectively comprise a
 6 false, deceptive, and misleading movie trailer advertisement.
 7         36.   Evincing Defendant’s intent to deceive consumers (the term “consumers”

 8 including Plaintiffs and Class members), Defendant knows and has always known that Ms.
 9 De Armas is and was not in the publicly released film Yesterday.
10         37.   Also evincing Defendant’s intent to deceive consumers, Defendant knows and

11 has always known that the “something”-song-joke, in which Malik plays The Beatles’ song
12 “Something”, is and was not in the publicly released film Yesterday.
13         38.   Despite knowing that Ms. De Armas was not in the released version of the

14 movie Yesterday, Defendant has consistently promoted Ms. De Armas as a character
15 starring in the film, by including her scenes in Yesterday’s movie trailers. Indeed,
16 Defendant continues to promote Ms. De Armas as appearing in the film more than two
17 years after its initial release, in advertisements for movie sales and rentals. More
18 specifically, the film Yesterday premiered on or about May 4, 2019, but movie trailers
19 featured in January of 2022 still include the scenes with Ms. De Armas and the
20 “something”-song joke. These movie trailers are viewable, prior to purchasing or renting
21 the movie Yesterday, from electronic streaming services, including, but not limited to,
22 Amazon (via Amazon Prime) and Google (via Google Play). These same trailers were also
23 used to advertise the movie Yesterday prior to its theatrical release.
24         39.   Similarly, on or about June 25, 2019 in a post-release national television

25 appearance promoting the film Yesterday, director Boyle was interviewed alongside actor
26 Himesh Patel (who plays Jack Malik) on CBS television. Although Ms. De Armas is not
                                                8
27                                    CLASS ACTION COMPLAINT
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 1 in the film, the scene featuring Ms. De Armas was played during Boyle’s television
 2 appearance to a national television audience. A true and accurate screen capture from the
 3 television appearance is reproduced below:
 4
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12
13 Ms. De Armas is the actress in the white outfit depicted in the above image.
14
           40.    Even though Ms. De Armas would never be in the film to entertain its viewers,
15
     Defendant played this scene on national television because Defendant knew it would lure
16
     viewers, sales, and movie rentals, because it was a “fantastic” scene in which Ms. De
17
     Armas was “radiant” and “brilliant.” Moreover, when this scene was featured on national
18
     television, the movie Yesterday had already been released to the public. Accordingly,
19
     Defendant already knew that Ms. De Armas would not and did not appear in the final
20
     version of the film.
21
           41.    Movie trailers are the de facto standard for advertising movies (or films) in
22
     the United States.
23
           42.    Movie trailers are understood by movie viewers and consumers to convey
24
     what actors will appear in the advertised film.
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27                                       CLASS ACTION COMPLAINT
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 1        43.    Defendant’s Yesterday movie trailers were used by Defendant as

 2 advertisements for the film.
 3       44. Defendant’s Yesterday movie trailers were used by Defendant as the primary

 4 advertisements for the film.
 5       45. Defendant knew that consumers would rely on the content of the Yesterday

 6 movie trailers when making decisions whether to pay for purchasing or viewing the film.
 7      46. Defendant creates, distributes, and publishes its movie trailers, including the

 8 movie trailer for Yesterday, for the purpose of enticing consumers to pay for purchasing or
 9 viewing Defendant’s films, including the film Yesterday.
10        47.    Defendant expected that consumers would rely on the content of the Yesterday

11 movie trailers when making decisions whether to pay for purchasing or viewing the film.
12      48. Defendant’s Yesterday movie trailers, aired or accessible during 2019,

13 included scenes with Ana De Armas.
14       49. Defendant’s Yesterday movie trailers, aired or accessible during 2020,

15 included scenes with Ana De Armas.
16       50. Defendant’s Yesterday movie trailers, aired or accessible during 2021,

17 included scenes with Ana De Armas.
18       51. Defendant’s Yesterday movie trailers, aired or accessible during 2022,

19 included scenes with Ana De Armas.
20       52. On online movie streaming services such as Amazon.com’s Amazon Prime,

21 Defendant uses the Yesterday movie trailer with Ana De Armas to convince consumers to
22 purchase or rent the movie Yesterday.
23        53.    After watching the movie trailer for Yesterday on Amazon Prime, and other

24 online movie streaming services, consumers are able to purchase or rent the movie
25 Yesterday on the same user interface.
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                                                10
27                                     CLASS ACTION COMPLAINT
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 1        54.    Defendant’s movie trailers for Yesterday are accessible on the same display

 2 screen, such as a television screen, as the point-of-purchase or rental opportunity for
 3 purchasing or renting the movie Yesterday.
 4        55.    Online streaming services such as Amazon Prime are designed to include

 5 movie trailers on the same screen, such as a television screen, as the point-of-purchase or
 6 rental opportunity for purchasing or renting the movie featured in the trailer, so that
 7 consumers can make instant decisions to purchase or rent a movie, without consulting other
 8 sources.
 9        56.    Movie consumers typically make decisions to view, purchase, or rent a movie

10 – or not - based on the content of movie trailers viewed by such consumers.
11       57. The decision to purchase or rent a movie is binary. A consumer either rents or

12 purchases a movie, or not. A movie trailer is the advertising vehicle which Defendant uses
13 to persuade movie consumers, when such consumers are making such binary movie
14 purchase or rental decisions.
15       58. Defendant’s inclusion of Ana De Armas in Yesterday movie trailers leads

16 viewers to believe that Ana De Armas is in the film.
17       59. Defendant used movie trailers, which included scenes with Ana De Armas, to

18 promote the theatrical release of the film Yesterday.
19      60. Defendant used movie trailers, which included scenes with Ana De Armas, to

20 promote online movie sales and rentals of the film Yesterday.
21      61. Ana De Armas does not appear in Defendant’s publicly released 2019 movie

22 Yesterday.
23       62. Ana De Armas does not appear in the version of Defendant’s publicly released

24 movie Yesterday which has been sold and rented to consumers, and exhibited at pay-for-
25 view movie theaters, during the years 2019, 2020, 2021, and 2022.
26
                                                11
27                                     CLASS ACTION COMPLAINT
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 1        63.    Ana De Armas does not appear in any publicly released version of

 2 Defendant’s publicly released movie Yesterday
 3      64. All of Defendant’s theatrical presentations, sales, rentals, and licenses, of the

 4 movie Yesterday injure consumers in the same way because the film sold, rented, and
 5 licensed is the same, regardless of medium, and does not include Ana De Armas and does
 6 not include the “something”-song-joke, in which Malik plays The Beatles’ song
 7 “Something”.
 8        65.    Defendant had sufficient control and authority to determine whether Ana De

 9 Armas would appear in the Yesterday movie trailer.
10      66. Defendant chose to continue to utilize Yesterday movie trailers featuring Ana

11 De Armas as advertisements, even though Defendant knew that Ana De Armas was not in
12 the film Yesterday.
13        67.    Defendant’s trailer for the movie Yesterday is used to advertise the movie to

14 solicit purchases and rentals of the movie from online movie services such as Amazon
15 Prime and Google Play. Defendants’ Yesterday trailer, used on such services to advertise
16 the movie, includes scenes with Ana De Armas.
17       68. The following images are true and accurate screen shots from Defendant’s

18 movie trailer for Yesterday:
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27                                     CLASS ACTION COMPLAINT
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11
     Actress Ana De Armas is the actress wearing a white outfit in the above images.
12
13         69.   Defendant’s official trailer for the movie Yesterday was also published by

14 Defendant on YouTube and has been viewed more than 32.6 million times on YouTube
15 since February 12, 2019. The number 32.6 million meets or exceeds the number of viewers
16 of the movie Yesterday that paid to view it or purchased it.
17        70. Relying on false, deceptive, and misleading advertisements for its promotion,

18 Defendant’s movie Yesterday has thus far grossed approximately $150,000,000 (one-
19 hundred fifty million) United States dollars.
20 Defendant’s False and Deceptive Advertising
21
         71. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
22
   paragraphs as though the same were fully set forth herein.
23
         72. Defendant, through its movie trailers for Yesterday, has consistently conveyed
24
   to consumers throughout the United States that the movie Yesterday features actress Ana
25
   De Armas.
26
                                                 15
27                                      CLASS ACTION COMPLAINT
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 1         73.   Despite Defendant’s representations in movie trailer advertising, Ana De

 2 Armas is not in the film Yesterday.
 3      74. Defendant also deceived consumers by including the “something”-song-joke,

 4 and the performance of The Beatles’ song Something, in movie trailers promoting
 5 Yesterday.
 6         75.   The “something”-song-joke, and the performance of The Beatles’ song

 7 Something, is not in the publicly released version of the movie Yesterday.
 8      76. Defendant’s movie trailer advertisements for the movie Yesterday, featuring

 9 Ana De Armas, are literally false advertisements.
10      77. Defendant’s movie trailer advertisement of the movie Yesterday, featuring

11 scene elements which were not included in the publicly released film, are collectively a
12 literally false advertisement.
13         78.   Defendant’s movie trailer advertisements for the movie Yesterday, featuring

14 Ana De Armas, are false, deceptive, and misleading.
15      79. Defendant’s movie trailer advertisement of the movie Yesterday, featuring

16 scene elements which were not included in the publicly released film, are false, deceptive,
17 and misleading.
18         80.   Consumers, including movie viewers, purchasers, and renters of the movie

19 Yesterday, relied on the content of the trailer for the film when deciding whether to spend
20 money to view or purchase the film.
21         81.   Because consumers were not provided with the movie product that they were

22 promised by the Yesterday movie trailer, the were effectively provided with no value at all.
23      82. Because consumers were promised a movie with Ana De Armas by the trailer

24 for Yesterday, but did not receive a movie with any appearance of Ana De Armas at all,
25 such consumers were not provided with any value for their rental or purchase.
26
                                                 16
27                                      CLASS ACTION COMPLAINT
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 1         83.   Defendant’s false, deceptive, and misleading advertisements have been

 2 disseminated to the public continuously since at least 2019, and are still being disseminated
 3 in January of 2022, and Defendant will continue to deceive the public with such
 4 advertisements unless it is enjoined from continuing to engage in such unlawful conduct.
 5
 6                        CLASS DEFINITION AND ALLEGATIONS
 7
           84.   Plaintiffs reassert and reallege all of the allegations contained in the foregoing
 8
     paragraphs as though the same were fully set forth herein.
 9
           85.   Plaintiffs, pursuant to Fed. R. Civ. Pro. 23(b)(2) and 23(b)(3), bring this
10
     action on behalf of themselves and those similarly situated and seek certification of the
11
     following classes:
12
13                                       California Class
14               All persons who purchased in the state of California any tickets
15               for theater viewership, or who rented or purchased physical or
                 electronic copies of the movie Yesterday within California, within
16               the applicable statute of limitations, for personal use until the
17               date notice is disseminated.
18
                                          Maryland Class
19
20               All persons who purchased in the state of Maryland any tickets
21               for theater viewership, or who rented or purchased physical or
                 electronic copies of the movie Yesterday within Maryland, within
22               the applicable statute of limitations, for personal use until the
23               date notice is disseminated.
24
25
26
                                                  17
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 1        86.   Excluded from each Class is Defendant, its parents, subsidiaries, affiliates,

 2 officers, and directors, those who viewed, purchased, or rented the movie Yesterday, all
 3 persons who make a timely election to be excluded from the Class, the judge to whom
 4 this case is assigned and any immediate family members thereof.
 5        87. Certification of Plaintiffs’ claims for class wide treatment is appropriate

 6 because Plaintiffs can prove the elements of their claims on a class wide basis using the
 7 same evidence as would be used to prove those elements in individual actions alleging
 8 the same claims.
 9 Numerosity – Federal Rule of Civil Procedure 23(a)(1)
10
          88. The members of the Class are so numerous that individual joinder of all Class
11
   members is impracticable. Defendant has sold at least hundreds of thousands of movie
12
   tickets, or online or physical movie rentals or purchases, to Class members.
13
14 Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)
15 and 23(b)(3)
16        89.   This action involves common questions of law and fact, which

17 predominate over any questions affecting individual Class members, including,
18 without limitation:
19              (a)    Whether the representations discussed herein that Defendant made
20                     about Yesterday were or are true, misleading, or likely to deceive;
21              (b)    Whether Defendant’s conduct violates public policy;
22              (c)    Whether Defendant engaged in false or misleading advertising;
23              (d)    Whether Defendant’s conduct constitutes violations of the laws
24              asserted herein;
25              (e)    Whether Plaintiffs and the other Class members have been injured
26              and the proper measure of their losses as a result of those injuries; and
                                                18
27                                     CLASS ACTION COMPLAINT
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 1                (f)    Whether Plaintiffs and the other Class members are entitled to

 2                injunctive, declaratory, or other equitable relief.

 3 Typicality – Federal Rule of Civil Procedure 23(a)(3)
 4
         90. Plaintiffs’ claims are typical of the other Class members’ claims because,
 5
   among other things, all Class members were comparably injured through the uniform
 6
   prohibited conduct described above.
 7
 8 Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4)
 9
           91.    Plaintiffs are adequate representatives of the Class because Plaintiffs’
10
     interests do not conflict with the interests of the other Class members Plaintiffs seek
11
     to represent; Plaintiffs have retained counsel competent and experienced in complex
12
     commercial and class action litigation; and Plaintiffs intend to prosecute this action
13
     vigorously. The interests of the Class members will be fairly and adequately protected by
14
     Plaintiffs and their counsel.
15
16 Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2)
17
           92.    Defendant has acted or refused to act on grounds generally applicable to
18
     Plaintiffs and the other Class members, thereby making appropriate final injunctive
19
     relief and declaratory relief, as described below, with respect to Class as a whole.
20
21 Superiority – Federal Rule of Civil Procedure 23(b)(3)
22         93.    A class action is superior to any other available means for the fair and
23 efficient adjudication of this controversy, and no unusual difficulties are likely to be
24 encountered in the management of this class action. The damages or other financial
25 detriment suffered by Plaintiffs and the other Class members are relatively small
26
                                                   19
27                                        CLASS ACTION COMPLAINT
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 1 compared to the burden and expense that would be required to individually litigate their
 2 claims against Defendant, so it would be impracticable for Class members to
 3 individually seek redress for Defendant’s wrongful conduct. Even if Class members
 4 could afford individual litigation, the court system could not. Individualized litigation
 5 creates a potential for inconsistent or contradictory judgments, and increases the delay
 6 and expense to all parties and the court system. By contrast, the class action device
 7 presents far fewer management difficulties, and provides the benefits of single
 8 adjudication, economy of scale, and comprehensive supervision by a single court.
 9                                      CLAIMS FOR RELIEF
10                                             COUNT I
11                  Violation of the California Unfair Competition Law (“UCL”)
                               Cal. Bus. & Prof. Code §§ 17200, et seq.
12                                 (On behalf of the California Class)
13
              94.   Plaintiffs reassert and reallege all of the allegations contained in the foregoing
14
     paragraphs as though the same were fully set forth herein.
15
              95.   Plaintiff Rosza brings this claim individually and on behalf of the California
16
     Class.
17
              96.   Plaintiff and Defendant are “persons” within the meaning of the UCL. Cal.
18
     Bus. & Prof. Code § 17201.
19
              97.   The UCL defines unfair competition to include any “unlawful, unfair
20
     or fraudulent business act or practice,” as well as any “unfair, deceptive, untrue or
21
     misleading advertising.” Cal. Bus. Prof. Code § 17200.
22
              98.   In the course of conducting business, Defendant committed unlawful
23
     business practices by, among other things, making the representations (which also
24
     constitutes advertising within the meaning of § 17200) and omissions of material facts,
25
     as set forth more fully herein, and violating Civil Code §§ 1572, 1573, 1709, 1711,
26
                                                     20
27                                          CLASS ACTION COMPLAINT
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 1 1770(a)(5), (7), (9) and (16) and Business & Professions Code §§ 17200, et seq., 17500, et
 2 seq., and the common law.
 3        99.    Plaintiff reserves the right to allege other violations of law, which constitute

 4 other unlawful business acts or practices. Such conduct is ongoing and continues to this
 5 date.
 6        100. In the course of conducting business, Defendant committed “unfair”

 7 business practices by, among other things, making the representations (which also
 8 constitute advertising within the meaning of § 17200) and omissions of material facts
 9 regarding the movie Yesterday in its advertising, as set forth more fully herein. There is
10 no societal benefit from false advertising – only harm. Plaintiff and the other Class
11 members paid for a product that did not deliver the content promised by Defendant’s
12 advertising. While Plaintiff and the other Class members were harmed, Defendant was
13 unjustly enriched by its false misrepresentations and omissions. As a result,
14 Defendant’s conduct is “unfair,” as it offended an established public policy. Further,
15 Defendant engaged in immoral, unethical, oppressive, and unscrupulous activities that
16 are substantially injurious to consumers.
17        101. Further, as set forth in this Complaint, Plaintiff alleges violations of

18 consumer protection, unfair competition, and truth in advertising laws in California and
19 other states, resulting in harm to consumers. Defendant’s acts and omissions also violate
20 and offend the public policy against engaging in false and misleading advertising, unfair
21 competition, and deceptive conduct towards consumers. This conduct constitutes
22 violations of the unfair prong of Business & Professions Code § 17200, et seq.
23        102. There were reasonably available alternatives to further Defendant’s

24 legitimate business interests, other than the conduct described herein. Business &
25 Professions Code § 17200, et seq., also prohibits any “fraudulent business act or
26 practice.” In the course conducting business, Defendant committed “fraudulent business
                                                 21
27                                      CLASS ACTION COMPLAINT
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 1 act or practices” by, among other things, making the representations (which also constitute
 2 advertising within the meaning of § 17200) and omissions of material facts regarding
 3 the movie Yesterday, as set forth more fully herein. Defendant made the
 4 misrepresentations and omissions regarding the content of the film Yesterday, among other
 5 ways, by misrepresenting that Ana De Armas would appear in the publicly released
 6 film when Defendant knew she would not.
 7         103. Defendant’s actions, claims, omissions, and misleading statements, as

 8 more fully set forth above, were also false, misleading and/or likely to deceive the
 9 consuming public within the meaning of Business & Professions Code § 17200, et seq.
10         104. Plaintiff and the other members of the Class have in fact been deceived as

11 a result of their reliance on Defendant’s material representations and omissions, which
12 are described above. This reliance has caused harm to Plaintiff and the other members
13 of the Class, each of whom paid to view or purchased Defendant’s film Yesterday.
14 Plaintiff and the other Class members have suffered injury in fact and lost money as a
15 result of paying to view or purchasing the movie Yesterday due to Defendant’s
16 unlawful, unfair, and fraudulent practices.
17         105. Defendant knew and intended, or at least should have known, that its

18 material misrepresentations and omissions would be likely to deceive and harm the
19 consuming public and result in consumers making payments to Defendant for its falsely
20 advertised film.
21       106. As a result of its deception, Defendant was unjustly enriched by receiving

22 payments from Plaintiff and the Class in return for providing Plaintiff and the Class a movie
23 product that does not include the actress Ana De Armas as advertised.
24         107. Unless restrained and enjoined, Defendant will continue to engage in the

25 unlawful, unfair and fraudulent conduct described herein. Accordingly, Plaintiff,
26 individually and on behalf of all others similarly situated, and on behalf of the
                                                 22
27                                      CLASS ACTION COMPLAINT
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 1 general public, seeks restitution from Defendant of all money obtained from Plaintiff and
 2 the other members of the Class collected as a result of Defendant’s unfair competition,
 3 and for an injunction prohibiting Defendant from continuing and further engaging in its
 4 unlawful, unfair and fraudulent conduct, requiring corrective advertising, and awarding
 5 all other relief this Court deems appropriate.
 6                                          COUNT II
 7                 Violation of the California False Advertising Law (“FAL”)
                            Cal. Bus. & Prof. Code §§ 17500, et seq.
 8                               (On behalf of the California Class)
 9
           108. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
10
     paragraphs as though the same were fully set forth herein.
11
           109. Plaintiff Mike Rosza brings this claim individually and on behalf of the
12
     California Class.
13
           110. The FAL, in relevant part, states that “[i]t is unlawful for any … corporation
14
     …with intent … to dispose of … personal property … to induce the public to enter
15
     into any obligation relating thereto, to make or disseminate or cause to be made or
16
     disseminated …from this state before the public in any state, in any newspaper or other
17
     publication, or any advertising device, or by public outcry or proclamation, or in any
18
     other manner or means whatever, including over the Internet, any statement … which
19
     is untrue or misleading, and which is known, or which by the exercise of reasonable care
20
     should be known, to be untrue or misleading[.]” Cal. Bus. & Prof. Code § 17500 (emphasis
21
     added).
22
           111. The required intent is the intent to dispose of property, not the intent to
23
     mislead the public in the disposition of such property.
24
25
26
                                                  23
27                                       CLASS ACTION COMPLAINT
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 1        112. Defendant violated the FAL by making literally false and misleading

 2 representations in the movie trailer that Ana de Armas was in the movie Yesterday when,
 3 in reality, she did not make an appearance in the movie Yesterday.
 4        113. As a direct and proximate result of Defendant’s untrue and misleading

 5 advertising, Plaintiff and the Class members have suffered injury in fact and have lost
 6 money.
 7        114. Accordingly, Plaintiff requests that the Court order Defendant to restore

 8 the money Defendant has received from Plaintiff and the members of the Class, and that
 9 the Court enjoin Defendant from continuing its unlawful practices, and engage in corrective
10 advertising.
11
12                                        COUNT III
                       Unjust Enrichment (Pleading in the Alternative)
13                      (On behalf of the California and Maryland Class)
14        115. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
15 paragraphs as though the same were fully set forth herein.
16       116. Plaintiffs bring this claim individually and on behalf of the Class.
17        117. This claim is pleaded in the alternative to the other claims set forth herein.
18        118. As the intended and expected result of its conscious wrongdoing, Defendant
19 has profited from and benefitted from the sales, rentals, licenses, and public theater
20 presentations of the movie Yesterday.
21        119. Defendant has intentionally sought and voluntarily accepted and retained
22 these profits and benefits, with full knowledge and awareness that, as a result of
23 Defendant’s misconduct alleged herein, Plaintiffs and the Class were not receiving a
24 product – the Yesterday movie – of the quality, nature, fitness or value that had been
25 represented by Defendant, and that a reasonable consumer would expect. Specifically,
26
                                                 24
27                                      CLASS ACTION COMPLAINT
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 1 Plaintiffs and the Class members expected that when they purchased or rented the movie
 2 Yesterday, Ana de Armas would have a role in the movie and that other scenes appearing
 3 in the Yesterday trailer would appear in the film.
 4        120. Defendant has been unjustly enriched by its fraudulent, deceptive, unlawful,

 5 and unfair conduct, and its withholding of benefits and unearned monies from Plaintiffs
 6 and the Class, at the expense of these parties.
 7          121. Equity and good conscience militate against permitting Defendant to retain

 8 these profits and benefits.
 9                                        COUNT IV
                                  Breach of Implied Warranty
10                          (MD Comm. L. Code § 2-314, 2-315, 2-316)
11                              (On behalf of the Maryland Class)

12          122. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
13 paragraphs as though the same were fully set forth herein.
14          123. Plaintiff Woulfe brings this claim individually and on behalf of the Maryland
15 Class.
16          124. The laws governing the sale of goods imply a warranty that the goods conform
17 to the representations and specifications suppliers/merchants supply for the goods and that
18 the goods are fit for the purposes underlying the goods sold.
19          125. The laws governing the sale of goods also imply a warranty that the goods
20 conform to the promises or affirmations of fact made when advertising the product.
21          126. The purpose of these warranties is to protect consumers, as the intended
22 beneficiaries of those warranties.
23          127. Plaintiff Woulfe and Maryland Class Members are the intended beneficiaries
24 of the implied warranty contract.
25          128. Defendant is the merchant that sells the movie Yesterday to consumers.
26          129. The movie Yesterday is the consumer good.
                                                   25
27                                        CLASS ACTION COMPLAINT
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 1         130. Defendant breached its implied warranties pertaining to the content of the

 2 movie Yesterday, because the movie Yesterday did not contain Ana de Armas or other
 3 omitted content, as Defendant’s movie trailer promised to consumers.
 4         131. Defendant cannot provide a remedy or provide conforming goods because the

 5 movie Yesterday has already been displayed to Plaintiff Woulfe and Maryland Class
 6 Members without Ana de Armas and other scenes.
 7         132. Defendant’s breach of the implied warranty of merchantability injured

 8 Plaintiff Woulfe and the Maryland Class by inducing Maryland movie viewers to pay for
 9 purchasing or viewing the movie Yesterday, using advertising which falsely warranted the
10 movie as including content, including a performance by the actress Ana De Armas, which
11 it did not.
12         133. Defendant’s actions breached implied warranties made to consumers in

13 violation of Maryland law.
14        134. Defendant’s unlawful conduct entitles Plaintiffs and the Class to: (a) damages,

15 in an amount to be determined at trial, and (b) an order enjoining Defendant from
16 continuing to offer the movie Yesterday for sale or rent or license without Ana De Armas
17 or without other scenes falsely advertised as included within the film.
18
19                                       COUNT V
            Violation of Maryland’s Unfair and Deceptive Trade Practices Action
20                          MD Comm. L. Code § 13-301 et seq.
21                            (On behalf of the Maryland Class)

22         135. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
23 paragraphs as though the same were fully set forth herein.
24         136. Plaintiff Woulfe brings this claim individually and on behalf of the members
25 of the Maryland Class.
26
                                                  26
27                                       CLASS ACTION COMPLAINT
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 1        137. Plaintiff Woulfe and the Maryland Class members are consumers within the

 2 meaning of the Maryland Consumer Unfair and Deceptive Trade Practices Act, §13-201 et
 3 seq. (the “Maryland Act”).
 4        138. The Maryland Act expressly notes that unfair or deceptive trade practices

 5 include:
 6            a. False, falsely disparaging, or misleading oral or written statement, visual

 7               description, or other representation of any kind which has the capacity,

 8               tendency, or effect of deceiving or misleading consumers;

 9            b. Representation that:

10                  i. Consumer goods, consumer realty, or consumer services have a

11                     sponsorship, approval, accessory, characteristic, ingredient, use,

12                     benefit, or quantity which they do not have;

13            c. Deception, fraud, false pretense, false premise, misrepresentation, or knowing

14               concealment, suppression, or omission of any material fact with the intent that

15               a consumer rely on the same in connection with:

16                  i. The promotion or sale of any consumer goods, consumer realty, or

17                     consumer service.

18        139. Maryland Code, Commercial Law Article, 13-408, a provision of Maryland’s

19 Consumer Protection Act, expressly authorizes civil actions by consumers, like Plaintiff
20 Woulfe.
21        140. Defendant engages in “trade” and “commerce” generally and as it pertains to

22 the distribution of the movie Yesterday for sale or rent to consumers within the state of
23 Maryland.
24        141. Defendant’s movie trailer for the film Yesterday represents that the actress

25 Ana De Armas, as well as certain omitted scenes, would be featured in the movie Yesterday,
26 when she is not and the scenes are not.
                                                 27
27                                      CLASS ACTION COMPLAINT
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 1        142. The movie trailer for Yesterday is false, deceptive, and misleading because it

 2 represents that actress Ana de Armas, and other omitted scenes, would be featured in the
 3 movie Yesterday, when she is not and the scenes are not.
 4        143. The content of Defendant’s movie trailer for the movie Yesterday, which was

 5 omitted from the publicly released film, is and was collectively material to a reasonable
 6 consumer and is and was designed to affect consumer decisions and conduct.
 7        144. Defendant understood and intended that the representations in the movie

 8 trailer for Yesterday would influence consumer behavior.
 9         145. Defendant understood that it has an obligation to ensure the honesty of all

10 promotions and to avoid misleading the public regarding the movie Yesterday.
11      146. Defendant’s misleading movie trailer constitutes an unfair method of

12 competition and unfair and/or deceptive acts or practices in the conduct of trade or
13 commerce for movie sales and rentals and licenses to consumers.
14        147. Defendant’s acts and practices offend public policy as established by statute.

15        148. Defendant’s acts and practices are immoral, unethical, oppressive, and

16 unscrupulous.
17       149. Defendant’s conduct substantially injured actual and potential consumers, the

18 public and competition. Defendant knowingly induced viewership, sales, rentals, and
19 licenses of the movie Yesterday within the state of Maryland, using a false and deceptive
20 movie trailer for monetary gain from Plaintiff Woulfe, the Maryland Class members, and
21 other consumers who would not have paid to view, rent, buy, or license Yesterday but for
22 Defendant’s false and misleading conduct.
23      150. Defendant’s conduct materially affected available information regarding its

24 Yesterday movie within Maryland.
25       151. Defendant’s conduct improperly distorted the information available to the

26 public regarding the movie Yesterday.
                                                28
27                                     CLASS ACTION COMPLAINT
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 1         152. Defendant’s actions caused consumers to pay for the movie Yesterday, by

 2 deceiving consumers into believing the movie had content that it does not. These injuries
 3 are not outweighed by any countervailing benefits to consumers or competition. No legally
 4 cognizable benefit to consumers or competition results from Defendant’s misconduct.
 5       153. Plaintiff Woulfe and the Maryland Class purchased the movie Yesterday for

 6 personal, family or household use. Thus, the practices discussed above constitute unfair
 7 competition or unfair, unconscionable, deceptive, or unlawful acts or business practices in
 8 violation of the Maryland Act.
 9        154. The foregoing unfair and deceptive practices directly, foreseeably, and

10 proximately caused Plaintiff Woulfe and the Maryland Class to suffer ascertainable losses
11 when they were deceived into paying to view, buy, rent, or license the movie Yesterday,
12 when they would not have but for Defendant’s false, deceptive, and misleading
13 advertisements and representations. Consequently, Defendant has been unjustly enriched
14 by gaining revenues for movie sales, rentals, and licenses, which it only gained because of
15 its unlawful conduct.
16         155. Plaintiff Woulfe and the Maryland Class are entitled to recover damages and

17 other appropriate relief, as alleged below.
18
19                                       COUNT VI
         Breach of Express Warranty in Violation of the Uniform Commercial Code
20                    (on behalf of the California and Maryland Class)
21         156. Plaintiffs reassert and reallege all of the allegations contained in the foregoing
22 paragraphs as though the same were fully set forth herein.
23       157. Plaintiffs bring this claim individually and on behalf of the California and
24 Maryland Class.
25
26
                                                  29
27                                       CLASS ACTION COMPLAINT
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 1         158. Defendant’s Yesterday movie trailer expressly warrants that the movie

 2 Yesterday would feature Ana de Armas and other omitted scenes.
 3       159. Defendants breached their express warranties to Plaintiffs and the Maryland

 4 and California Class because actress Ana de Armas, and other omitted but promoted
 5 scenes, did not appear in the movie Yesterday.
 6         160. As a result of Defendant’s breach of its express warranties, Plaintiffs and the

 7 Maryland and California Class have suffered actual damages because they purchased or
 8 rented or licensed products that they would not have, but for Defendant’s unlawful conduct.
 9                                 REQUEST FOR RELIEF
10
     WHEREFORE, Plaintiffs, individually and on behalf of the other members of the
11
     proposed Class, respectfully request that the Court enter judgment in Plaintiffs’ favor
12
     and against Defendant as follows:
13
           A.    Declaring that this action is a proper class action, certifying the Classes
14
           as requested herein,   designating Plaintiffs          as   Class   Representatives   and
15
           appointing the undersigned counsel as Class Counsel;
16
           B.    Ordering restitution and disgorgement of all profits and unjust enrichment
17
           that Defendant obtained from Plaintiffs and the Class members as a result of
18
           Defendant’s unlawful, unfair and fraudulent business practices;
19
           C.    Ordering injunctive relief as permitted by law or equity, including enjoining
20
           Defendant from continuing the unlawful practices as set forth herein, and ordering
21
           Defendant to engage in a corrective advertising campaign;
22
           D.    Ordering damages, including punitive damages, for Plaintiffs and the Classes;
23
           E.    Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiffs
24
           and the other members of the Class;
25
26
                                                  30
27                                       CLASS ACTION COMPLAINT
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 1       F.    Ordering Defendant to pay both pre- and post-judgment interest on any

 2       amounts awarded; and

 3       G.    Ordering such other and further relief as may be just and proper.

 4
 5                              DEMAND FOR JURY TRIAL
 6       Plaintiffs respectfully demand a trial by jury in this action.
 7
 8                                          Respectfully submitted,
 9                                          LEJEUNE LAW, P.C.

10 Dated: January 21, 2022                  By: /s/ Cody R. LeJeune
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16                                                 Attorneys for Plaintiff
                                                   CONOR WOULFE, an individual, and
17                                                 PETER MICHAEL ROSZA, an individual
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